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      UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE



DONNITTA SINCLAIR,                                    JUDGMENT IN A CIVIL CASE

                         Plaintiff,                   CASE NO. C21-0571-JCC
          v.

CITY OF SEATTLE,

                         Defendant.




__     Jury Verdict. This action came before the Court for a trial by jury. The issues have been
       tried and the jury has rendered its verdict.

_ X_ Decision by Court. This action came to consideration before the Court. A decision has
been rendered.

THE COURT ORDERS THAT:

Defendant’s motion is DISMISSED with prejudice.

       DATED this 1st day of November 2021.

                                                     RAVI SUBRAMANIAN
                                                     Clerk of Court

                                                     /s/ Sandra Rawski
                                                     Deputy Clerk
